     Case 3:18-cv-00334-REP Document 10 Filed 03/15/19 Page 1 of 7 PageID# 59




                      IN THE UNITED         STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division                                        L      E     1?^
                                                                                   m      t s 2019
ANTHONY RICHARD HARRIS,
                                                                               CLERK, u s. district COURT
                                                                                     RICHMONin \/A    "'
        Plaintiff,

V.                                                    Civil Action No.        3:18-cv-334


POSTMASTER GENERAL OF THE            UNITED
STATES,    MEGAN BRENNAN,

        Defendant.




                                 MEMORANDUM OPINION


       This     matter    is   before       the    Court    on   Defendant     Postmaster


General Megan Brennan's MOTION TO DISMISS                        (EOF No.   6).    Anthony

Richard Harris has not filed a response to the motion to dismiss,

and the time to do so has expired.                   For the following reasons, the

MOTION TO DISMISS         (EOF No.     6)    will be granted,        but the dismissal

will be without prejudice.

                                       BACKGROUND


       Harris     is an employee        of    the    United States         Postal Service

{"USPS")       as a   rural mail carrier.            EOF No.     7 at 3.     Harris filed

an Equal Employment Opportunity                   ("EEO")   complaint.       He initially

requested pre-complaint processing on October 26, 2017, and he was

issued     a    notice   of    right    to    file    an    individual      complaint      of

discrimination on November 25,               2017.     EOF No. 7,     Ex. 3 at 2-3.        He

filed a    formal EEO complaint on November 29,                    2017,    claiming that
Case 3:18-cv-00334-REP Document 10 Filed 03/15/19 Page 2 of 7 PageID# 60
Case 3:18-cv-00334-REP Document 10 Filed 03/15/19 Page 3 of 7 PageID# 61
Case 3:18-cv-00334-REP Document 10 Filed 03/15/19 Page 4 of 7 PageID# 62
Case 3:18-cv-00334-REP Document 10 Filed 03/15/19 Page 5 of 7 PageID# 63
Case 3:18-cv-00334-REP Document 10 Filed 03/15/19 Page 6 of 7 PageID# 64
Case 3:18-cv-00334-REP Document 10 Filed 03/15/19 Page 7 of 7 PageID# 65
